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              UNITED STATES BANKRUPTCY COURT FOR THE
                      DISTRICT OF RHODE ISLAND

    IN RE:      RAFAEL CABRAL                          BK No.: 1:11-bk-11567
                Debtor
                IRIS CABRAL
                Joint Debtor

    SCHEDULE OF POST PETITION DEBTS AND MATRIX OF NEW
                 POST PETITION CREDITORS

          Debtors, pursuant to any Order of this Court and Bankruptcy Rule

    1019(5) files the attached Schedule of Post Petition Debts and Matrix of

    New Post Petition Creditors.



    December 13, 2011                           /s/ Rafael Cabral
                                                RAFAEL CABRAL


    December 13, 2011                           /s/ Iris Cabral
                                                IRIS CABRAL


    December 13, 2011                           /s/John B. Ennis, Esq..
                                                JOHN B. ENNIS, ESQ. #2135
                                                1200 Reservoir Avenue
                                                Cranston, RI 02920
                                                401-943-9230
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                                   CERTIFICATION

          I hereby certify that I mailed a copy of the above Schedule of Post

    Petition Debts and Matrix of New Post Petition Creditors to the following by

    either electronic filing or by regular mail, postage prepaid on this 13th day

    of December, 2011.


    Andrew S. Richardson, Esq.
    182 Waterman Street
    Providence, RI 02906

    Office of the U.S. Trustee
    10 Dorrance Street
    Room 519
    Providence, RI 02903

    Sovereign Bank
    601 Penn Street
    Reading, PA 19601

                                                  /s/ John B. Ennis, Esq.
